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AO 245B (Rev 12/03) Criminal Judgment Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                            District of New Mexico

                    UNITED STATES OF AMERICA                           Amended Judgment in a Criminal Case - Reason:
                               V.                                      Correction of Sentence for Clerical Mistake (fed. R. Crim. P. 36)

                         Irwin Joe Yellowtail                          (For Offenses Committed On or After November 1, 1987)
                                                                       Case Number: 1:10CR00247-001JB
                                                                       USM Number: 48955-051
                                                                       Defense Attorney: Robert J. Gorence, Appointed
THE DEFENDANT:

c     pleaded guilty to count(s) Indictment
d     pleaded nolo contendere to count(s)
d     after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section Nature of Offense                                                          Offense Ended               Count
                                                                                                                         Number(s)
18 U.S.C. Sec.        Robbery; Crime In Indian Country, 18 U.S.C. Sec. 1153                  12/27/2009
2111

The defendant is sentenced as specified in pages 2 through 5 of this judgment. The sentence is imposed under the Sentencing Reform Act
of 1984.

d     The defendant has been found not guilty on count .
d     Count dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.

San Juan                                                               May 19, 2010
 County of Residence                                                   Date of Imposition of Judgment


                                                                       /s/ James O. Browning
                                                                       Signature of Judge


                                                                       Honorable James O. Browning
                                                                       United States District Judge
                                                                       Name and Title of Judge


                                                                       June 9, 2010
                                                                       Date Signed
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AO 245B (Rev. 12/03) Sheet 2 - Imprisonment                                                                             Judgment - Page 2 of 5


Defendant: Irwin Joe Yellowtail
Case Number: 1:10CR00247-001JB


                                                          IMPRISONMENT

The defendant is committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 46 months.

The Court has considered the Guidelines and, in arriving at its sentence, has taken account of the Guidelines with other sentencing
goals. Specifically, the Court has considered the Guidelines` sentencing range established for the applicable category of offense
committed by the applicable category of Defendant. The Court believes that the Guidelines` punishment is appropriate for this
sort of offense. Therefore, the sentence in this judgment is consistent with a guideline sentence. The Court has considered the
kind of sentence and range established by the Guidelines. The Court believes that a sentence of 46 months reflects the seriousness
of the offense, promotes respect for the law, provides just punishment, affords adequate deterrence, protects the public and
effectively provides the Defendant with needed education or vocational training and medical care, and otherwise fully reflects
each of the factors embodied in 18 U.S.C. Section 3553(a). The Court also believes the sentence is reasonable. The Court believes
the sentence is sufficient, but not greater than necessary, to comply with the purposes set forth in the Sentencing Reform Act.

c     The court makes these recommendations to the Bureau of Prisons:

         Safford Federal Correctional Institution, Safford, Arizona, if eligible
         The Court recommends the defendant participate in the Bureau of Prisons 500 hour drug and alcohol treatment program.

c     The defendant is remanded to the custody of the United States Marshal.
d     The defendant must surrender to the United States Marshal for this district:
         d   at on
         d   as notified by the United States Marshal.
d     The defendant must surrender for service of sentence at the institution designated by the Bureau of Prisons:
         d   before 2 p.m. on
         d   as notified by the United States Marshal
         d   as notified by the Probation or Pretrial Service Office.


                                                                RETURN

I have executed this judgment by:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.


                                                                      UNITED STATES MARSHAL



                                                                      Deputy United States Marshal
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AO 245B (Rev. 12/03) - Sheet 3 - Supervised Release                                                                                     Judgment - Page 3 of 5


Defendant: Irwin Joe Yellowtail
Case Number: 1:10CR00247-001JB


                                                            SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons. The defendant shall not commit another federal, state, or local crime. The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as directed by the probation officer.

d     The above drug testing condition is suspended based on the courts determination that the defendant possesses a low risk of future substance
         abuse. (Check, if applicable.)
c     The defendant shall not possess a firearm, ammunition, destructive device, or any dangerous weapon. (Check, if applicable).
c     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable).
d     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
         directed by the probation officer. (Check, if applicable)
d     The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such fine or restitution that
remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment.
The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall also comply with
the additional conditions on the attached page (if indicated below).

                                                      STANDARD CONDITIONS OF SUPERVISION

1)       the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)       the defendant shall support his or her dependents and meet other family responsibilities;
5)       the defendant shall obtain and maintain full time, legitimate employment, or attend a vocational or academic training program throughout the
         term of supervised release as directed by the probation officer;
6)       the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
         or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)       the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
         unless granted permission to do so by the probation officer;
10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court;
13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with such notification
         requirement;
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AO 245B (Rev. 12/03) Sheet 3                                                                  Judgment - Page 4 of 5


Defendant: Irwin Joe Yellowtail
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                                  SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not possess, have under his control, or have access to any firearm, ammunition, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.

The defendant must participate in and successfully complete a substance abuse treatment program which
may include drug testing, outpatient counseling, or residential placement. The defendant is prohibited from
obstructing or attempting to obstruct or tamper, in any fashion, with the collection, efficiency and accuracy
of any substance testing device or procedure. The defendant may be required to pay a portion of the cost
of treatment and/or drug testing as determined by the Probation Office.

The defendant must submit to a search of his person, property, or automobile under his control to be
conducted in a reasonable manner and at a reasonable time, for the purpose of detecting illegal substances
or weapons at the direction of the probation officer. He must inform any residents that the premises may
be subject to a search.

The defendant must refrain from the use and possession of alcohol and other forms of intoxicants. He must
not frequent places where alcohol is the primary item for sale.

The defendant shall have no contact with the co-defendants in this case.
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AO 245B (Rev.12/03) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 5 of 5


Defendant: Irwin Joe Yellowtail
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                                                CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments.
d     The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                      Assessment                           Fine                         Restitution
                                               $100.00                            $0.00                          $309.50


                                                        SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       c   In full immediately; or
B       d   $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.

The Court finds the Mandatory Victim Restitution Act is applicable in this case. Due to the equal culpability between the defendant
and his three co-conspirators, it is recommended the defendant pay one fourth of the $1,238 owed to both victims in this case, for
a total amount of $309.50.

The defendant shall begin making restitution payments within 60 days of the date of sentencing and shall pay no less than $50
per month towards restitution.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
